Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 1 of 98




                            Exhibit A-7
                            Page 104
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 2 of 98




                            Exhibit A-7
                            Page 105
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 3 of 98




                            Exhibit A-7
                            Page 106
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 4 of 98




                            Exhibit A-7
                            Page 107
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 5 of 98




                            Exhibit A-7
                            Page 108
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 6 of 98




                            Exhibit A-7
                            Page 109
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 7 of 98




                            Exhibit A-7
                            Page 110
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 8 of 98




                            Exhibit A-7
                            Page 111
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 9 of 98




                            Exhibit A-7
                            Page 112
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 10 of 98




                            Exhibit A-7
                            Page 113
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 11 of 98




                            Exhibit A-7
                            Page 114
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 12 of 98




                            Exhibit A-7
                            Page 115
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 13 of 98




                            Exhibit A-7
                            Page 116
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 14 of 98




                            Exhibit A-7
                            Page 117
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 15 of 98




                            Exhibit A-7
                            Page 118
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 16 of 98




                            Exhibit A-7
                            Page 119
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 17 of 98




                            Exhibit A-7
                            Page 120
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 18 of 98




                            Exhibit A-7
                            Page 121
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 19 of 98




                            Exhibit A-7
                            Page 122
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 20 of 98




                            Exhibit A-7
                            Page 123
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 21 of 98




                            Exhibit A-7
                            Page 124
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 22 of 98




                            Exhibit A-7
                            Page 125
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 23 of 98




                            Exhibit A-7
                            Page 126
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 24 of 98




                            Exhibit A-7
                            Page 127
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 25 of 98




                            Exhibit A-7
                            Page 128
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 26 of 98




                            Exhibit A-7
                            Page 129
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 27 of 98




                            Exhibit A-7
                            Page 130
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 28 of 98




                            Exhibit A-7
                            Page 131
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 29 of 98




                            Exhibit A-7
                            Page 132
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 30 of 98




                            Exhibit A-7
                            Page 133
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 31 of 98




                            Exhibit A-7
                            Page 134
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 32 of 98




                            Exhibit A-7
                            Page 135
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 33 of 98




                            Exhibit A-7
                            Page 136
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 34 of 98




                            Exhibit A-7
                            Page 137
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 35 of 98




                            Exhibit A-7
                            Page 138
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 36 of 98




                            Exhibit A-7
                            Page 139
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 37 of 98




                            Exhibit A-7
                            Page 140
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 38 of 98




                            Exhibit A-7
                            Page 141
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 39 of 98




                            Exhibit A-7
                            Page 142
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 40 of 98




                            Exhibit A-7
                            Page 143
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 41 of 98




                            Exhibit A-7
                            Page 144
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 42 of 98




                            Exhibit A-7
                            Page 145
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 43 of 98




                            Exhibit A-7
                            Page 146
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 44 of 98




                            Exhibit A-7
                            Page 147
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 45 of 98




                            Exhibit A-7
                            Page 148
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 46 of 98




                            Exhibit A-7
                            Page 149
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 47 of 98




                            Exhibit A-7
                            Page 150
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 48 of 98




                            Exhibit A-7
                            Page 151
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 49 of 98




                            Exhibit A-7
                            Page 152
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 50 of 98




                            Exhibit A-7
                            Page 153
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 51 of 98




                            Exhibit A-7
                            Page 154
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 52 of 98




                            Exhibit A-7
                            Page 155
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 53 of 98




                            Exhibit A-7
                            Page 156
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 54 of 98




                            Exhibit A-7
                            Page 157
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 55 of 98




                            Exhibit A-7
                            Page 158
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 56 of 98




                            Exhibit A-7
                            Page 159
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 57 of 98




                            Exhibit A-7
                            Page 160
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 58 of 98




                            Exhibit A-7
                            Page 161
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 59 of 98




                            Exhibit A-7
                            Page 162
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 60 of 98




                            Exhibit A-7
                            Page 163
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 61 of 98




                            Exhibit A-7
                            Page 164
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 62 of 98




                            Exhibit A-7
                            Page 165
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 63 of 98




                            Exhibit A-7
                            Page 166
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 64 of 98




                            Exhibit A-7
                            Page 167
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 65 of 98




                            Exhibit A-7
                            Page 168
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 66 of 98




                            Exhibit A-7
                            Page 169
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 67 of 98




                            Exhibit A-7
                            Page 170
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 68 of 98




                            Exhibit A-7
                            Page 171
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 69 of 98




                            Exhibit A-7
                            Page 172
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 70 of 98




                            Exhibit A-7
                            Page 173
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 71 of 98




                            Exhibit A-7
                            Page 174
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 72 of 98




                            Exhibit A-7
                            Page 175
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 73 of 98




                            Exhibit A-7
                            Page 176
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 74 of 98




                            Exhibit A-7
                            Page 177
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 75 of 98




                            Exhibit A-7
                            Page 178
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 76 of 98




                            Exhibit A-7
                            Page 179
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 77 of 98




                            Exhibit A-7
                            Page 180
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 78 of 98




                            Exhibit A-7
                            Page 181
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 79 of 98




                            Exhibit A-7
                            Page 182
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 80 of 98




                            Exhibit A-7
                            Page 183
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 81 of 98




                            Exhibit A-7
                            Page 184
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 82 of 98




                            Exhibit A-7
                            Page 185
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 83 of 98




                            Exhibit A-7
                            Page 186
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 84 of 98




                            Exhibit A-7
                            Page 187
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 85 of 98




                            Exhibit A-7
                            Page 188
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 86 of 98




                            Exhibit A-7
                            Page 189
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 87 of 98




                            Exhibit A-7
                            Page 190
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 88 of 98




                            Exhibit A-7
                            Page 191
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 89 of 98




                            Exhibit A-7
                            Page 192
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 90 of 98




                            Exhibit A-7
                            Page 193
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 91 of 98




                            Exhibit A-7
                            Page 194
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 92 of 98




                            Exhibit A-7
                            Page 195
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 93 of 98




                            Exhibit A-7
                            Page 196
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 94 of 98




                            Exhibit A-7
                            Page 197
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 95 of 98




                            Exhibit A-7
                            Page 198
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 96 of 98




                            Exhibit A-7
                            Page 199
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 97 of 98




                            Exhibit A-7
                            Page 200
Case 3:08-cv-05591-RJB Document 13-8 Filed 02/18/09 Page 98 of 98




                            Exhibit A-7
                            Page 201
